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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         Case No. 4:05CR3060-2
                                            )
                    Plaintiff,              )
                                            )
             vs.                            )         MEMORANDUM
                                            )          AND ORDER
FERNANDO NUNEZ,                             )
                                            )
                    Defendant.              )

      Together with a compatriot, the defendant (Nunez) has been convicted of a
drug crime after a jury trial. Arguably, he is responsible for 24.9 kilograms of
cocaine. He has a total offense level of 34 and criminal history of I. His prison
range is 151 to 188 months. The defendant speaks English but not well.

     I allowed Jeremy Murphy to withdraw as counsel for Nunez after the trial was
completed because Murphy was leaving the practice of law. After that, I appointed
David F. Eaton to represent the defendant at sentencing.

        Nunez has complained about Mr. Eaton. (He has also complained about Mr.
Murphy.) I previously denied Mr. Eaton’s motion to withdraw as I found no
justification for the motion save for the defendant’s vague assertions of dissatisfaction
that Eaton dutifully reported. I also denied two letters, treated as motions, submitted
by the defendant essentially seeking the same relief.

       Despite two hearings, the vague assertions of dissatisfaction persist. Mr.
Eaton has advised that he has had several conferences with the defendant, but cannot
satisfy him. Furthermore, to the extent the defendant previously complained that he
has not been consulted by the probation office about matters relevant to the
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presentence investigation report, the defendant has now been offered an “in person”
interview with the probation officer. He has declined that interview.

      Under the circumstances, I believe standby counsel should be appointed to
perform specific tasks.

      IT IS ORDERED that:

      1.    With my thanks for agreeing to accept this appointment, Joseph
            Gross is appointed as standby counsel. Mr. Gross is requested to
            promptly enter his appearance. His limited responsibilities are
            these:

            A.     Mr. Gross shall consult with the defendant and
                   investigate to determine whether there is cause to
                   believe that Mr. Eaton cannot continue to represent
                   the defendant as required by governing legal and
                   ethical principles. In other words, the question Mr.
                   Gross is to answer is this: Is the defendant’s
                   dissatisfaction with Mr. Eaton justified? In this
                   regard, “[t]he focus of the justifiable dissatisfaction
                   inquiry is the adequacy of counsel in the adversarial
                   process, not the accused's relationship with his
                   attorney.” United States v. Barrow, 287 F.3d 733,
                   738 (8th Cir. 2002) (despite various complaints
                   against counsel, holding that the district court did
                   not abuse its discretion in refusing to appoint new
                   counsel) (citing Wheat v. United States, 486 U.S.
                   153, 159 (1988)).


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           B.    If Mr. Gross concludes that a motion seeking the
                 appointment of another lawyer is justified, Mr.
                 Gross shall file such a motion on behalf of the
                 defendant no later than May 1, 2007, provided that
                 the defendant consents to the filing of such a
                 motion. (If the motion is made and later granted, I
                 will probably appoint Mr. Gross to represent the
                 defendant as regular counsel.)

           C.    Mr. Gross shall appear at the hearing on Tuesday,
                 May 8, 2007, at 12:30 p.m. when this matter and, if
                 possible, sentencing will be considered. At that
                 time, and no matter whether Mr. Gross has or has
                 not filed the motion described in the preceding
                 paragraph, Mr. Gross shall be prepared to inform me
                 whether the defendant’s dissatisfaction with Mr.
                 Eaton is justified.

     2.    The Federal Public Defender shall provide Mr. Gross with a CJA
           voucher.

     3.    Defense counsel, Mr. Eaton, is ordered to cooperate with Mr.
           Gross.

     4.    A hearing on this and related matters, with sentencing, if possible,
           to follow will be held on Tuesday, May 8, 2007 at 12:30 p.m.
           The defendant shall be present, as shall Mr. Gross, Mr. Eaton and
           Ms. Fullerton.



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     5.    The Clerk of the Court shall provide copies of this memorandum
           and order to Mr. Gross, Mr. Eaton, Ms. Fullerton, the Federal
           Public Defender and the United States Marshal.

     8.    My chambers shall provide Mr. Gross with a copy of the
           presentence report, the sentencing recommendation and the
           docket sheet in this case. Mr. Eaton shall provide Mr. Gross with
           such records as he may request.

           March 21, 2007                         BY THE COURT:
                                                  s/Richard G. Kopf
                                                  United States District Judge




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